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ATTORNEYS FOR DEFENDANTS MINEONE WYOMING DATA CENTER, LLC,
MINEONE PARTNERS LLC, AND TERRA CRYPTO INC.

                            IN THE UNITED STATES DISTRICT COURT
                                  FOR THE DISTRICT OF WYOMING
                                                         )
BCB CHEYENNE LLC d/b/a BISON BLOCKCHAIN, a )
Wyoming limited liability company,                       )
                                                         )
                         Plaintiff,                      )
v.                                                       ) Civil Action No. 23CV-79-ABJ
                                                         )
MINEONE WYOMING DATA CENTER LLC, a                       )
Delaware limited liability company; MINEONE              )
PARTNERS LLC, a Delaware limited liability company; )
TERRA CRYPTO INC., a Delaware corporation; BIT           )
ORIGIN, LTD, a Cayman Island Company;                    )
SONICHASH LLC, a Delaware limited liability              )
company; BITMAIN TECHNOLOGIES HOLDING                    )
COMPANY, a Cayman Island Company; BITMAIN                )
TECHNOLOGIES GEORGIA LIMITED, a Georgia                  )
corporation; and JOHN DOES 1-20, related persons and )
companies who control or direct some or all of the named )
Defendants.                                              )
                                                         )
                         Defendants.                     )
                                                         )



DEFENDANTS MINEONE WYOMING DATA CENTER LLC, MINEONE PARTNERS
LLC, AND TERRA CRYPTO INC.’S MOTION PURSUANT TO FED. R. CIV. P. 16(b)(4)
       TO MODIFY THE COURT’S APRIL 25, 2024 SCHEDULING ORDER
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       COME NOW Defendants MineOne Wyoming Data Center LLC, MineOne Partners LLC,

and Terra Crypto Inc. (collectively, “MineOne”) by their counsel, and hereby file this motion,

pursuant to Federal Rule of Civil Procedure 16(b)(4), for an order modifying the Court’s Revised

Scheduling Order (ECF No. 164) to extend the fact discovery and dispositive motion deadlines.

                               PRELIMINARY STATEMENT

       This afternoon, Judge Hambrick granted permission to MineOne to file a Motion to

Compel BCB to cure its discovery deficiencies. ECF No. 342. Pursuant to Judge Hambrick’s Order

of September 10, 2024, MineOne’s Motion to Compel will not be fully briefed until October 8,

2024. If the Court grants MineOne’s Motion to Compel, then BCB will be required to collect and

produce numerous key categories of documents that were discussed in MineOne’s letter dated

September 6, 2024 to Judge Hambrick. See Exhibit 2 (letter dated September 6, 2024).

       In addition, BCB has made a Motion for Protective Order and to quash six

deposition/document subpoenas to BCB’s members/investors and one document subpoena to

Black Hills Energy, which will not be fully briefed before Judge Hambrick until September 11,

2024. BCB’s Motion for Protective Order (ECF Nos. 317 and 325) is baseless as detailed in

MineOne’s opposition brief (ECF No. 331), but because BCB filed a Motion for Protective Order,

MineOne could not proceed with the depositions of BCB’s members/investors which are the

subject of BCB’s Motion. MineOne fully anticipates that the Court will deny BCB’s Motion for

Protective Order and, when this occurs, then MineOne will be able to proceed with serving the

subpoenas and scheduling those depositions based on witness and counsel availability. (MineOne

had only served a notice of its intention to depose three of the six deponents when BCB filed its

Motion for Protective Order and, as a result, MineOne ceased its efforts to serve the subpoenas on

these nonparties).
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       At this juncture, it is literally impossible for the above motions to be decided by the Court

and documents collected and depositions taken and concluded this month.

       As such, MineOne requests that the deadline for (1) dispositive motions, (2) joint final

pretrial memorandum, and (3) motions in limine be each extended by three weeks. On September

9, 2024, Judge Hambrick ordered that the deadline for taking depositions be extended until

September 30, 2024. However, until Judge Hambrick decides BCB’s Motion for Protective Order,

all depositions in this case cannot conclude. MineOne will conduct the depositions of the witnesses

that have been identified by the Court’s September 30, 2024 deadline. However, as to the

depositions of key non-parties that are the subject of BCB’s Motion for Protective Order, MineOne

respectfully requests that after Judge Hambrick issues her Order as to the Motion for Protective

Order, the Court order a new date for the completion of those depositions in this case, if applicable.

       Since the outset of this case, MineOne has diligently worked to complete discovery in a

timely and efficient manner. MineOne engaged a discovery vendor to collect documents and

communications from all custodians under their control, and have produced over 36,600 pages of

documents. Yet, BCB has tried to prevent MineOne from obtaining crucial evidence and

developing the evidence it needs that is key to the claims and counterclaims.

       For example, BCB initially refused to produce any text messages among the various

members of BCB or comply with Judge Rankin’s Order mandating production of documents at

least through the filing of this action on May 3, 2023 (thereby withholding documents that the

Court had already determined to be relevant). While BCB should have produced these documents

in February 2024, BCB did not produce these documents until August 16, 2024 and August 26,

2024. At that time, BCB made a massive production of over 4,500 documents (over 17,000 pages)



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to MineOne. BCB then made a second production of over 5,000 documents (almost 13,000 pages)

10 days later on August 26, 2024—less than a month before the discovery deadline.

       BCB’s belated bad faith productions have caused a significant delay in the progress of this

case. Even to date, BCB has failed to conduct a good faith search from all custodians and devices

(or identify its custodians as ordered by Judge Hambrick), and continues to withhold audio

recordings relevant to the parties’ dispute and WeChat messages, which have been addressed in

MineOne’s September 6, 2024 discovery deficiency letter to Judge Hambrick. See Exhibit 2

(letter to Judge Hambrick dated September 6, 2024).1

       BCB has also interfered with MineOne’s third party discovery by filing a motion to quash

highly relevant subpoenas to BCB’s investors and Black Hills Energy. (ECF Nos. 317, 325). BCB

also shut down MineOne’s efforts (beginning in mid-July) to set a global deposition schedule by

refusing to discuss deposition scheduling until Magistrate Judge Hambrick mandated it on August

29th. Furthermore, there have been delays caused by BCB conditioning depositions of its

principals on MineOne’s agreement to produce individuals outside of its control (BCB has now

withdrawn its request), which also has added to the discovery delay. See Exhibit 1 (letter to Judge

Hambrick dated September 3, 2024). To date, the parties have not conducted a single deposition.

       Without an extension of the discovery deadline, MineOne will be severely prejudiced as it

will lose the opportunity to obtain crucial evidence from non-parties (such as BCB’s investors and

Black Hills Energy and others with critical knowledge of the allegations in the case) and pursue



           1
            Mr. Michael Murphy testified at the June 26th Evidentiary Hearing that BCB “was a
team which includes about a dozen individuals, including Cheyenne locals.” See Exhibit 3
(excerpt from the Evidentiary Hearing transcript) at 41:1-2. BCB’s production does not contain
documents from most of these “dozen individuals” and appears to be in large part comprised of
documents from only Mr. Michael Murphy.
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BCB’s ongoing discovery defaults. In stark contrast, BCB will suffer no prejudice from a short

extension of the deadlines, as the trial date will remain intact. BCB should not be able to prevent

all parties from conducting crucial discovery by running out the clock.

                                RELEVANT BACKGROUND2

       BCB commenced this action on May 3, 2023. BCB’s first combined discovery requests in

October 2023 included over 700 Requests for Admission, 50 Interrogatories, and over 125

Requests for Production. In response, in December 2023, MineOne produced almost 7,000

documents, totaling over 28,000 pages. Later, in the course of jurisdictional discovery, BCB

refused to respond to MineOne’s straightforward requests for information about the domicile of

one of its members, requiring MineOne to file its motion to dismiss.

       While MineOne’s motion to dismiss for lack of jurisdiction was pending, on April 25, 2024,

the Court issued the Revised Scheduling Order. ECF No. 164.3 However, in May 2024, BCB filed

an Emergency Motion for a Protective Order with Prejudgment Writs of Attachment and

Garnishment (the “Attachment Motion”), as well as amendments and supplements thereto (ECF

Nos. 182, 192, 204). The Attachment Motion necessitated extensions to discovery deadlines issued

by the Court. See, e.g., ECF No. 263 (Order extending expert designation).




           2
            MineOne has conferred with counsel for the other parties in this matter. Defendants
Bit Origin, Ltd. and SonicHash LLC consent to this motion. BCB and Defendants Bitmain
Technologies Holding Co. and Bitmain Technologies Georgia Limited (collectively, “Bitmain”)
oppose this motion. Indeed, today Defendant Bitmain filed a Stipulation of Dismissal of BCB’s
claims against Bitmain with prejudice (ECF No. 343).
           3
             The operative deadlines in the Revised Scheduling Order (ECF No. 164) include: (i)
Dispositive motions: October 4, 2024; (ii) Responses to dispositive motions and filing of all other
pretrial motions: October 18, 2024; (iii) Replies to dispositive motions: October 25, 2024; (iv)
Joint Final Pretrial Memorandum: November 8, 2024; and (v) Motions in Limine: November 8,
2024.
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       Beginning in February 2024, BCB produced documents in response to MineOne’s requests

in dribs and drabs – often in formats that made it nearly impossible for MineOne to adequately

review. But BCB refused to produce large categories of key information, which will be the subject

of MineOne’s Motion to Compel:

   BCB unilaterally determined that it need not produce documents between March 15, 2023
    (when it commenced its Wyoming Chancery Court action) and May 3, 2023 (when the instant
    action was commenced), despite Judge Rankin’s May 20, 2024 Order (ECF No. 190)
    mandating production of documents through the commencement of this action on May 3, 2023;

   BCB failed to produce responsive documents dated after March 7, 2023, despite claiming that
    production through at least March 15, 2023 would be forthcoming;

   BCB failed to produce any text or WeChat messages between BCB’s members and/or between
    BCB and third parties that relate to the Wyoming digital currency project, their business
    dealings with MineOne, cost overruns on the project, missed milestones and deadlines,
    MineOne’s alleged breach of contract, or any other relevant topic;

   BCB refused to produce any documents regarding its financial situation, including its
    capitalization and funding. These documents are highly relevant to BCB’s breach of its initial
    agreement with Black Hills Energy, BCB’s standing to maintain their suit, its representation
    concerning intended uses of funding, and BCB’s eleventh hour effort (in February 2023) to
    make itself judgement-proof by returning the vast majority of its funding to investors for no
    reason other than concern about impending litigation and counterclaims;

   BCB failed to produce to MineOne the third-party documents it had received as result of BCB’s
    subpoenas; and

   BCB has unreasonably refused to produce documents in response to MineOne’s document
    request “concerning the Request for Proposal submitted by BCB to Black Hills Energy,”
    despite the fact that BCB has consistently referred to the alleged value attendant to the contract
    that BCB obtained by being the winning bidder of the requests for proposal (see, e.g., ECF No.
    242 at 1). These documents are, at a minimum, relevant to Plaintiff’s damages claims.

       BCB’s conduct forced MineOne to seek informal discovery conferences with Magistrate

Judge Hambrick, Judge Carman and Judge Rankin, regarding BCB’s numerous deficiencies,

which has caused undue delay in this case. BCB has also thwarted efforts to set a deposition

schedule in this action. BCB’s unreasonable positions have included, among other things:



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   BCB’s counsel included his son (Michael Murphy) on counsel’s meet and confer to set
    deposition scheduling, with Michael Murphy attempting to control counsel’s conversation and
    disrupting the purpose of the call, which led Judge Hambrick to order that future meet and
    confers be limited to counsel only (ECF No. 339);

   BCB’s repeated attempts to identify additional witnesses to be deposed after the Court-ordered
    deadline for identifying all deposition witnesses; and

   BCB’s refusal to permit MineOne to depose BCB principals in-person, notwithstanding
    MineOne’s willingness to travel to Wyoming to do so.

       BCB’s counsel has repeatedly changed the availability of BCB’s witnesses for deposition,

and insisted that individuals outside of MineOne’s control be produced first for deposition. To

date, the parties have not conducted a single deposition, leading Magistrate Judge Hambrick to

extend the deposition deadline to September 30, 2024. ECF No. 339. But BCB’s discovery

misconduct, pending before Judge Hambrick, remains ongoing.             It has refused to produce

documents from all of its custodians (or even identify them, in violation of a Court order to do so),

and there are highly relevant documents that must also be produced that have been addressed to

Judge Hambrick. See Exhibit 2.

                                          ARGUMENT

       Pursuant to Rule 16(b)(4), the Court may amend the scheduling order upon a showing of

“good cause.” Good cause exists where the moving party has “been diligent in attempting to meet

the deadlines” under the existing schedule. Minter v. Prime Equip. Co., 451 F.3d 1196, 1205 n.4

(10th Cir. 2006). The movant need only provide “an adequate explanation for any delay.” Id.

       Courts routinely extend discovery deadlines due to delays caused by discovery disputes

and motion practice. See, e.g., Hoagland v. Rockin’ R Ranch & Lodge Guest Operations, Inc., No.

2:10-cv-478-TC-PMW, 2011 U.S. Dist. LEXIS 48472, at *6 (D. Utah May 5, 2011) (“Because of

the delays caused by the above-referenced discovery disputes, the court concludes that Plaintiffs


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have demonstrated good cause in support of entry of an amended scheduling order.”); Black &

Veatch Corp. v. Aspen Ins. (UK), No. 12-2350-SAC, 2014 U.S. Dist. LEXIS 25897, at *46 (D.

Kan. Feb. 28, 2014) (same).

       Critically, “the Court of Appeals for the Tenth Circuit has stated rigid adherence to a pretrial

schedule ‘should not be exacted, especially where to do so will result in injustice to one party and

relaxing of such agreement will not cause prejudice to the other party.’” Osborne v. Baxter

Healthcare Corp., No. 13-CV-139-SWS, 2015 U.S. Dist. LEXIS 178318, at *4 (D. Wyo. Dec. 2,

2015) (citation omitted). Here, as detailed above, an extension of discovery deadline is necessitated

by (i) the significant, unexpected and unforeseeable time expended on briefing motions, including

the motion based on subject matter jurisdiction (ECF No. 178), the Attachment Motions (ECF Nos.

182, 203), repeated frivolous sanctions motions filed by BCB (ECF Nos. 269, 317, 338), and

BCB’s repeated motions for reconsideration of motions that it had lost (ECF Nos. 155, 158, 336)

during the discovery period; (ii) BCB’s baseless withholding of thousands of pages of key

documents until the eleventh hour of the discovery period; (iii) the pending motion for protective

order and discovery deficiencies that are unlikely to be resolved before the close of discovery; and

(iv) the parties’ inability to schedule witness depositions. These factors constitute good cause to

modify the existing schedule.

       Without a short extension of discovery, MineOne will be severely prejudiced. BCB’s

baseless motion to quash is still pending before Magistrate Judge Hambrick, and operates as a stay

of discovery from key third party witnesses who have critical knowledge of the claims and

counterclaims in this case. As detailed in MineOne’s opposition to BCB’s motion to quash (ECF

No. 337), documents and testimony from BCB’s members and investors are crucial as, among

other things, they will show: (i) how BCB planned to comply with its financial obligations in the

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Blockchain Interruptible Electric Service Agreement with Black Hills (ECF No. 337 at 4), and

what BCB told its investors about the agreement in order to induce them to invest; (ii) what money

BCB raised and what it did with the money since BCB is blaming MineOne for the loss of all its

money; and (iii) that Michael Murphy’s testimony at the Evidentiary Hearing regarding

“camouflaged equity” and irregular accounting practices was baseless. When BCB’s motion to

quash is denied, it will be a hollow victory for MineOne if there is no time left to obtain the

documents and conduct key depositions.

       An extension is also necessary because depositions have not begun at this late stage. BCB’s

counsel has now claimed (for the first time) to Judge Hambrick that he does not represent Neil

Phippen, Sean Murphy, and Stephen Randall -- founding members of BCB who were intricately

involved in the failed buildout of the subject crypto mining facilities, requiring MineOne to

subpoena them.4 There is simply not enough time to complete these depositions (even with the

extension to September 30).

       This is a document-intensive dispute where the parties’ investors-members are critical

witnesses. Depositions of key third party witnesses, which BCB seeks to prevent, are also

paramount to MineOne’s defense. Adhering to the existing deposition deadline will hinder

MineOne’s ability to defend against BCB’s claims and cause a substantial risk of unfairness. see

also Garza v. Fusion Indus., LLC, 2023 U.S. Dist. LEXIS 56402, at *4 (W.D. Okla. Mar. 31, 2023)

(good cause where refusing to grant a continuance would cause a substantial risk of unfairness)

(citing Tesone v. Empire Mktg. Strategies, 942 F.3d 979, 988 (10th Cir. 2019)).



       4
          Yet, BCB has already admitted that Stephen Randall is a BCB custodian under BCB’s
control, as BCB prepared an affidavit for Mr. Randall (which Mr. Randall signed on behalf of
BCB). ECF No. 182-3.
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       Importantly, without an extension, MineOne will be unable to pursue BCB’s ongoing

discovery defaults. After BCB refused to produce any text messages among the various members

of BCB, and refused to comply with Judge Rankin’s Order mandating production of documents at

least through the filing of this action on May 3, 2023, BCB finally produced 29,000 pages on the

eve of the discovery deadline. A cursory review of these documents shows that there are significant

gaps of time where BCB has not produced critical communications. For example, BCB recently

produced an email from Michael Murphy dated June 13, 2022 which states that BCB members

Neil Phippen, Emory Patterson and Michael Murphy have been using a “Slack” text message chain

“for the past 9 months to manage all our day-to-day internal communication on the Cheyenne

project).” (See MINEONE0023954). Yet, the “Slack” communications that BCB produced begin

in October 2022. BCB did not produce “Slack” communications prior to October 2022 (including

for the 9 month period prior to June 13, 2022 referred to by BCB).

       BCB has also failed to complete a good faith search from all custodians and all devices: at

the August 29th meet and confer, BCB’s counsel admitted he did not have Neil Phippen’s

telephone number and had not spoken with Phippen, which demonstrates that BCB did not collect

Phippen (an important custodian)’s documents. And separately, while BCB’s counsel represented

at the August 19 Informal Discovery Conference before Judge Hambrick that “BCB did not use

WeChat to communicate on the project, and it has no WeChat messages to produce” (see Exhibit

4 at 19:13-15--excerpt from the transcript of the August 19, 2024 conference), BCB attached some

of Mr. Randall’s WeChat messages relating to the project to its motion for sanctions against

MineOne. See ECF No. 269-3. Yet, BCB has refused to produce all of Mr. Randall’s WeChat

messages, (which have to be produced) along with relevant audio recordings with regard to the

parties dispute that BCB has withheld, which is a subject that Judge Hambrick will decide.

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       BCB’s withholding of documents and other discovery misconduct has harmed MineOne’s

ability to prepare its defense and prosecution of their counterclaims. This prejudice will only be

magnified if BCB’s discovery defaults are not resolved before dispositive motions are briefed.

       While MineOne will be severely prejudiced if the discovery period is not extended, BCB

will suffer no prejudice from a short extension of these deadlines, as the trial date will remain

intact and all parties will have adequate time to brief summary judgment motions. See Heuskin v.

D&E Transp., LLC, 2020 U.S. Dist. LEXIS 163053, *8 (D.N.M. Sept. 8, 2020) (good cause

existed where scheduling deadlines could not be met despite the movant’s diligent efforts) (citing

Gorsuch, Ltd., B.C. v. Wells Fargo Nat’l Bank Ass’n, 771 F.3d 1230, 1240 (10th Cir. 2014)); see

also Smith v. United States, 834 F.2d 166, 169 (10th Cir. 1987) (court must also consider the

likelihood that the additional discovery period will lead to relevant evidence).

       Accordingly, good cause exists to modify the existing schedule to allow additional time for

the parties to conduct depositions as well as brief dispositive motions.

                                         CONCLUSION

       WHEREFORE, MineOne requests that the Court enter an Order modifying the Court’s

Revised Scheduling Order (ECF No. 164) to extend by three weeks each of the following current

deadlines in the Revised Scheduling Order (ECF No. 164): (i) Dispositive motions: October 4,

2024; (ii) Responses to dispositive motions and filing of all other pretrial motions: October 18,

2024; (iii) Replies to dispositive motions: October 25, 2024; (iv) Joint Final Pretrial Memorandum:

November 8, 2024; and (v) Motions in Limine: November 8, 2024. In addition, MineOne

respectfully requests that the Court provide additional time to MineOne for the depositions of key

nonparties which are the subject of BCB’s current Motion for Protective Order if the Court denies

BCB’s motion (which it should).

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DATED this 10th day of September, 2024

                                         DEFENDANTS MINEONE WYOMING DATA
                                         CENTER, LLC, MINEONE PARTNERS LLC,
                                         AND TERRA CRYPTO, INC.


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                                CERTIFICATE OF SERVICE

       This is to certify that on the 10th day of September, 2024, a true and correct copy of the
foregoing was served upon counsel as follows:

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